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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,)
                         )
           Plaintiff,    )                                  4:06CR3016
                         )
       v.                )
                         )
ARMANDO GARCIA-DELACRUZ, )                       MEMORANDUM AND ORDER
                         )
           Defendant.    )


       The defendant has filed a motion under 28 U.S.C. Section 2255 to vacate, set
aside, or correct his federal sentence. The court has entered the following order:

      4.     the defendant’s request for letters, filing 192, is granted, and Magistrate
             Judge Piester shall copy and send to the defendant Armando Garcia De
             La Cruz, No. 20179047 at the Federal Correctional Institution, P.O. Box
             3007 San Pedro, CA 90731, a copy of all letters referenced in Filing
             170, 2:11-15 and referenced to in the letter from Magistrate Judge David
             L. Piester to Michael D. Nelson of October 17, 2006.

Filing No. 194, at p. 4, ¶ 4. District Judge Warren K. Urbom, presiding judge, has
verbally advised Magistrate Judge Piester’s chambers that the letters referenced in the
paragraph above should also be made available to the government at this stage of the
proceedings.

       Attached hereto are the letters referred to by Judge Piester during the ex parte
hearing held on October 27, 2006, (see, filing no. 170, 2:11-15), including the three
letters received by Judge Piester’s chambers on October 17, 2006 and forwarded to
defendant’s appointed counsel, Michael D. Nelson, that same date, and the letter
received by his chambers on October 24, 2006, and provided to Mr. Nelson during
the October 27, 2006 hearing.
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      In accordance with the order entered, (filing no. 194), and the further direction
provided by Judge Urbom:

      1)     The clerk shall publicly file this memorandum and order, but shall file
             the letters attached to this memorandum and order as restricted access
             documents; and

      2)     The clerk shall mail a copy of this memorandum and order, along with
             the attached letters, to the defendant Armando Garcia De La Cruz, No.
             20179047 at the Federal Correctional Institution, P.O. Box 3007 San
             Pedro, CA 90731.

      DATED this 22nd day of June, 2009.

                                 BY THE COURT:

                                 s/ Richard G. Kopf
                                 Richard G. Kopf
                                 United States District Judge, in the absence of
                                 Magistrate Judge David L. Piester,
                                 and with the agreement of Judge Urbom




                                          2
